                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHARLES E. JORDAN,                           )
                                             )
                         Plaintiff,          )     Civil Action No.
v.                                           )     1:13-cv-03703-WBH-JSA
                                             )
GUARANTEED AUTO, INC.,                       )     Magistrate Judge
                                             )     Justin S. Anand
                         Defendant.          )

                  BRIEF IN SUPPORT OF PLAINTIFF’S
              MOTION FOR PARTIAL SUMMARY JUDGMENT

      Guaranteed Auto lured Mr. Jordan into financing a used car purchase using

deceitful disclosures that concealed illegal finance charges and a hidden APR of

over 80%. When the car was eventually repossessed, Mr. Jordan did not receive

any of the required notices of his redemption rights. Guaranteed Auto’s unfair and

deceptive practices were not isolated; they were systemic and have affected

hundreds of Georgia consumers over the past several years. Guaranteed Auto’s

deceitful behavior entitles Mr. Jordan to statutory and actual damages on his claims

under the Truth in Lending Act, 15 U.S.C. §§ 1601 et seq. (“TILA”), and

supplemental state law claims.




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                                      FACTS

      On or around November 11, 2012, Mr. Jordan purchased a 2004 GMC

Yukon XL (the “Vehicle”) from Guaranteed Auto. (Statement of Material Facts

(“SMF”) ¶ 3.) This transaction consisted of a retail installment contract and a bill

of sale, resulting in a purchase money security interest in the Vehicle in favor of

Guaranteed Auto. (SMF ¶ 8.)

      The purchase price for the Vehicle was $8,884.93. (SMF ¶ 5.) Mr. Jordan

made a down payment of $1,000.00, and was credited $3,500.00 for a trade-in

vehicle. (SMF ¶¶ 6-7.) Mr. Jordan financed the remainder of the purchase price

with Guaranteed Auto. (SMF ¶ 8.)

      His retail installment contract contained Truth In Lending Disclosures

(“TILA Disclosures”). According to these disclosures, the financing arrangement

would cost him $3,350.62 in finance charges, which amounts to an APR of

28.000%. (SMF ¶ 17.) However, these finance charges excluded an unidentified

fee in the amount of $3,350.00, which was buried elsewhere in the agreement.

(SMF ¶¶ 12-13.)

      Even though Guaranteed Auto had promised to allow Mr. Jordan to use his

payday as the payment deadline, it declared him in default and repossessed his

vehicle on December 26, 2012, just one day before his next paycheck. After


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repossession, Guaranteed Auto sent no written notices to Mr. Jordan informing him

of his right to redeem the vehicle. (SMF ¶¶ 27-28.) Both the repossessed vehicle

and Mr. Jordan’s trade-in vehicle were later resold by Guaranteed Auto, who

charged the $3,350 fee to each of the subsequent customers. (SMF ¶¶ 30, 34.)

                                  ARGUMENT

    I.   GUARANTEED AUTO’S DECEPTIVE FINANCING DISCLOSURES
         VIOLATE THE TRUTH IN LENDING ACT.
      Guaranteed Auto violated TILA when it concealed an unidentified $3,350.00

fee from the finance charge for Mr. Jordan’s used car purchase. As a result, Mr.

Jordan received wildly inaccurate disclosures of the amount financed and APR,

which prevented him from assessing the true (and extremely high) cost of credit for

the transaction. This type of deceit and nondisclosure violates the core promise of

TILA: the promotion of the “informed use of consumer credit.” 12 C.F.R. §

226.1(b); see also 15 U.S.C. § 1601(a).1 Furthermore, the inaccurate disclosures of

the amount financed, finance charge, and APR entitle Mr. Jordan to statutory and

actual damages. See 15 U.S.C. § 1640(a)(1) – (2).




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  This transaction is subject to TILA because (1) Guaranteed Auto has extended
credit to more than 25 consumers in 2011 and during the part of 2012 preceding
the transaction, and (2) Mr. Jordan used the credit for personal, family, or
household purposes. (SMF ¶¶ 1-3, 11); 15 U.S.C. §1602(f), (i).
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             A.     Guaranteed Auto Under-disclosed the Finance Charge by
                    Over Three Thousand Dollars.

      TILA requires the accurate disclosure of the “finance charge,” often referred

to as the “cost of credit,” or the amount a consumer must pay the creditor in order

to obtain financing. Ralph J. Roner & Thomas A. Durkin, TILA “Finance” and

“Other” Charges in Open-End Credit: The Cost of Credit Principle Applied to

Charges for Optional Products or Services, 17 Loy. Consumer L. Rev. 137, 150

(2005). This strict requirement “prohibit[s] creditors from circumventing TILA’s

objectives and burying the cost of credit in the price of goods sold.” Rodash v.

AIB Mortgage Co., 16 F.3d 1142, 1144-45 (11th Cir. 1994). An inaccurate finance

charge thus results in a claim for damages by the consumer. 15 U.S.C. § 1640(a).

                    1.    The Unidentified Fee fits the statutory definition of a
                          finance charge.

      A finance charge under TILA includes (1) any charge (2) payable directly or

indirectly by the consumer (3) and imposed directly or indirectly by the creditor (4)

as an incident to or condition of the extension of credit. 12 C.F.R. § 226.4(a). This

definition must be construed broadly and in favor of the consumer. See Bragg v.

Bill Heard Chevrolet, Inc., 374 F.3d 1060, 1065 (11th Cir. 2004) (TILA is a

remedial statute that must be interpreted liberally).



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      The first three prongs of the definition of finance charge are largely self-

explanatory (and easily met here).      “[A]ny cost charged by the creditor” is an

“imposed” charge under this standard. 60 Fed. Reg. 62,764, 62,765 (Dec. 7,

1995); see also First Acadiana Bank v. Federal Deposit Ins. Corp., 833 F.2d 548,

550 (5th Cir. 1987) (attorneys’ fees imposed by creditor are finance charges). Mr.

Jordan’s purchase documents show, and Guaranteed Auto’s deposition confirms,

that the Unidentified Fee was charged to Mr. Jordan directly by the creditor.    (Ex.

B-C; Deposition of Nick Hart (as Fed. R. Civ. Proc. 30(b)(6) witness for

Guaranteed Auto, Inc.), Jun. 17, 2014 (“GA Deposition”), p. 29:15-22; p. 56:22-

25; p 57:1-8; SMF ¶¶ 12-14.)

      A charge meets the fourth prong of the definition if it is paid “as an incident

to or condition of the extension of credit.” 12 C.F.R. § 226.4.         A fee that is

charged to credit customers but not cash customers is a fee that is “incident to” or a

“condition of the extension of credit.” Compton v. Altavista Motors, Inc., 121 F.

Supp. 2d 932, 937 (D. W. Va. 2005) (“Because the processing fee is mandatory for

credit customers, but not for cash customers, it is a charge ‘incident to’ the

extension of credit and, therefore part of the finance charge”).

      Again, these conditions are met. While this fee was charged to all customers

who financed their vehicle purchase through Guaranteed Auto, it was not charged


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to any cash customers. (SMF ¶¶ 15-16.) This fee was mandatory, as Guaranteed

Auto never waived it for any customers obtaining financing. (GA Deposition, p.

40:7-9 (“Q: Okay. Did you ever waive the [$3,350.00] fee if the customer asked

you to waive it? A: No.”; SMF ¶ 32.)

                    2.    The Unidentified Fee does not fall under any of the
                          regulatory exemptions to the finance charge.

      As the $3,350.00 fee meets the baseline definition for a finance charge, it

can only be omitted from the finance charge if it falls within one of TILA’s

specific exemptions. 12 C.F.R. § 226.4 (c)-(e). Because TILA is a remedial

statute to be liberally interpreted in favor of consumers, these exemptions must be

narrowly construed. Buford v. American Fin. Co., 333 F. Supp. 1243, 1247 (N.D.

Ga. 1971). It is clear that the fee does not fit one of the statutory exemptions.

      As a threshold matter, Guaranteed Auto cannot invoke any finance charge

exclusion in this case as it provided no written disclosure regarding the purpose of

the fee. See Meyers v. Clearview Dodge Sales, 539 F.2d 511, 518-519 (Former

5th Cir. 1976) (certain charges not made to cash customers must be itemized and

disclosed “in order that they may be excluded from the finance charge”). This lack

of identification in and of itself violates other TILA disclosures rules, see 12

C.F.R. § 226.18(c) (requiring an itemization of the amount financed, including the

identity of the recipient of those charges), and frustrates TILA’s underlying policy

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that consumers have informed use of their credit. Because it did not disclose the

purpose of this fee, Guaranteed Auto is not entitled to receive protection under the

narrow statutory exemptions.

      Even if the lack of disclosure were not dispositive, Guaranteed Auto would

still not be able to receive protection under these exemptions because it has not

provided a coherent explanation for the fee. 2 In deposition testimony, Guaranteed

Auto stated that the fee covered several services:         (1) a guarantee that no

deficiency would be pursued; (2) use of a rental or loaner car if repairs are needed;

(3) “optional” credit reporting of the customer’s loan status; (4) the option to

finance any needed repairs (though Mr. Jordan would still bear those costs); (5) a

GPS system used for repossession; and (6) unspecified profits. (GA Deposition,

pp. 29:24-25, 30:1-21 (outlining components); p. 58:2-11 (explaining GPS’s

repossession purpose); pp. 46:24-25; 47:1 (“there’s profit in there”).)

      Each of these items constitutes a finance charge. At best, item (1) is debt

cancellation insurance, which equates to a finance charge because it is required by

the creditor. See 12 C.F.R. § 226.4(d). Further, the rental fees and bundled service
2
  In discovery, Guaranteed Auto initially claimed the fee was an “application fee,”
(Ex. F, Def’s Admissions ¶ 17), but later disclaimed that response in its entirety.
(GA Deposition, p. 37:18-22). Any application fee in this case, however, would
still be a finance charge because Guaranteed Auto did not charge it to all applicants
for credit, regardless of whether they were approved, as required by 12 C.F.R. §
226.4(c)(1). (See GA Deposition, pp. 41:12-13; 42:3-5.)
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packages that are sold as part of the credit transaction, items (2) through (4), are

also finance charges. See Pendleton v. American Title Brokers, Inc., 754 F. Supp.

860, 863-64 (S.D. Ala. 1991) (weekly rental fee for car is a finance charge);

Random v. S&S Food Center, Inc. of Florida, 700 F.2d 670, 674 (11th Cir. 1983)

(required service agreement was a finance charge) (overruled on other grounds).

Item (5) is a finance charge because the GPS device protects the creditor’s

collateral in the event of default. See 15 U.S.C. § 1605(a)(5) (finance charge

includes any “other charge for any guarantee . . . protecting the creditor against the

obligor’s default or other credit loss”). Finally, item (6), additional profit, is the

dealer simply extracting additional money from the credit transaction.

      None of the above items fit the regulatory exemptions to finance charges.

See 12 C.F.R. § 226.4(c)-(e). On the contrary, most of them are specific examples

of finance charges. See 12 C.F.R. § 226.4(b).

                   3.     The finance charge is understated by $3,350.00.

      For the foregoing reasons, the entirety of the $3,350.00 is a finance charge.

If the amount financed for a transaction exceeds $1,000.00, as is the case here

(SMF ¶¶ 5, 12), then the disclosed finance charge must be no more than $10.00

above or below the actual finance charge. 12 C.F.R. § 226.18(d)(2). Guaranteed

Auto exceeded these thresholds, and thus violated TILA, because the finance


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charge was disclosed as $3,350.62 when it was really $6,700.62 (the disclosed

$3,350.62 plus the undisclosed $3,350.00 fee).

             B.    Guaranteed Auto Overstated the Amount Financed.

      Second, Guaranteed Auto violated TILA by including the unidentified

$3,350.00 fee in the amount financed. This resulted in a deceptive TILA disclosure

statement that grossly misrepresented the true cost of the transaction to Mr. Jordan.

      TILA requires creditors to disclose the “amount financed,” or “the amount

of credit provided to [the consumer] or on [the consumer’s] behalf” for credit

transactions. 12 C.F.R. § 226.18(b). Failing to do so accurately is a violation of

TILA, and results in a claim for damages. 15 U.S.C. §1640(a). The amount

financed is calculated by (1) determining the principal loan amount or the cash

price (subtracting any down payment); (2) adding any other amounts that are not

financed by the creditor and are not part of the finance charge; and (3) subtracting

any prepaid finance charge. 12 C.F.R. § 226.18(b)(1)-(3).

        Guaranteed Auto’s calculations regarding the amount financed are

disclosed on the Bill of Sale. (Ex. C.) The Bill of Sale identifies the “Balance to

be Financed” as $8,271.93.      (Id.)   This figure was reached by including the

Unidentified Fee in the Amount Financed, per the Bill of Sale. (SMF ¶ 12, 19.)




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      However, as described above, the Unidentified Fee is a finance charge.

Thus, by including it in the amount financed, Guaranteed Auto overstated that

amount. See 12 C.F.R. § 226.18(b)(2) (finance charges must be excluded from

amount financed). Accordingly, the correct amount financed for the transaction is

$4,921.93 ($8,271.93 less $3,350.00).

            C.     By Disclosing the APR As 28%, When It Was Actually
                   80%, Guaranteed Auto Grossly Understated the APR.

      Because Guaranteed Auto failed to properly disclose the finance charge and

the amount financed, it provided Mr. Jordan with a wildly inaccurate annual

percentage rate (APR).

      The APR “is a measure of the cost of credit, expressed as a yearly rate.” 12

C.F.R. § 226.22(a)(1). The measure is so important that TILA requires it, along

with the finance charge, to be the most conspicuous disclosure made to the

consumer. See 15 U.S.C. § 1632(a). Furthermore, the accuracy of the APR must

be precise, as it is only considered accurate if it is within “1/8 of 1 percentage

point” of an approved calculation method. 12 C.F.R. § 226.22(a)(2).

      Because calculating the APR can be cumbersome with hand calculations, the

Office of the Comptroller of Currency (OCC) has created a program, called




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APRWIN, to run those calculations.3 Because this government-provided calculator

is considered reliable, the Court can take judicial notice of its results.         See

Maldonado v. AMS Servicing LLC, 2012 U.S. Dist. LEXIS 8037, *15-16 n. 9 (D.

Mass. Jan. 24, 2012).

         According to the APRWIN program, the APR on this transaction is

80.1286%.4 Guaranteed Auto disclosed the APR as 28.00%, 52.128 percentage

points below the actual APR. This APR far exceeds the “1/8 of 1 percentage

point”     tolerance    for   APR   calculations.    Guaranteed     Auto’s    massive

underdisclosure of the APR therefore violates TILA.


               D.      Plaintiff is Entitled to Statutory and Actual Damages as a
                       Result of Guaranteed Auto’s TILA Violations.

         Mr. Jordan is entitled to actual and statutory damages, along with costs and

attorneys’ fees5 as a result of Guaranteed Auto’s violations of TILA. 15 U.S.C. §

1640(a); Gilkey v. Central Clearing Co., 202 F.R.D. 515 (E.D. Mich. 2001) (strict

liability for inaccurate disclosures of finance charge and APR).


3
  The APRWIN program is publicly available from the OCC website. See
http://www.occ.gov/tools-forms/tools/compliance-bsa/aprwin-software.html (last
accessed Aug. 22, 2014).
4
  The steps and calculations for this result are attached in an Affidavit of Counsel.
See Ex. K – L (explaining calculations with accompanying screen shots).
5
  Mr. Jordan will submit his request for attorneys’ fees and costs, if appropriate,
after a ruling on the merits.
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      Specifically, Mr. Jordan is entitled to statutory damages of twice the finance

charge, or $2,000.00, whichever is less. 15 U.S.C. § 1640(a)(2)(A)(ii). Because

twice the finance charge of $6,700.62 is well over the statutory cap of $2,000.00,

he is entitled to $2,000.00 in statutory damages.

      In addition to statutory damages, consumers may recover actual damages

when there is a “causal link between the financing institution’s noncompliance

with TILA requirements and [his] damages.” Barlow v. Evans, 992 F. Supp. 1299,

1309-10 (M.D. Ala. 1997). The TILA violation in this case is so substantial that

Mr. Jordan would have avoided the transaction entirely if the APR was shown as

over 80%, as opposed to 28%. (SMF ¶ 22.) Guaranteed Auto concedes that the

industry standard for buy-here, pay-here transactions is 28% (GA Deposition, p.

19:2-15; SMF ¶ 41), so Mr. Jordan could easily have gone elsewhere for financing.

Moreover, the cost of his credit was important to him because he wanted to have

the ability to pay off the loan early. (Jordan Aff. ¶ 17.)

      Mr. Jordan’s damages are substantial. First, Mr. Jordan paid $1,400.00

through his down payment and monthly payments that he would not have

otherwise paid if he had been aware of the true cost of his transaction. (SMF ¶¶

23, 25.) Second, he traded in a vehicle worth at least $3,500.00, by Guaranteed

Auto’s calculation. (SMF ¶ 7.) Thus, Mr. Jordan suffered $4,900.00 in actual


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damages ($1,400.00 in payments plus his vehicle worth $3,500.00) as a result of

Guaranteed Auto’s conduct. Mr. Jordan’s total damages are therefore $6,900.00

($4,900.00 in actual damages plus $2,000.00 in statutory damages).

    II.   GUARANTEED AUTO VIOLATED THE MOTOR VEHICLE SALES
          FINANCE ACT BY CHARGING ILLEGAL INTEREST RATES, AND
          NOT PROVIDING REQUIRED NOTICES.

      Not only were Guaranteed Auto’s true finance charges hidden from Mr.

Jordan, but they also violated the limits of the Georgia Motor Vehicle Sales

Finance Act (MVSFA). Guaranteed Auto further violated the MVSFA by not

providing adequate post-repossession notice of Mr. Jordan’s rights.6       These

violations automatically protect the consumer from further charges, O.C.G.A. §§

10-1-36(a), 10-1-38(b), and because the charges were intentional, entitle him to

additional statutory damages, O.C.G.A. § 10-1-38(c).

            A. Defendant’s Contract Charged Interest Rates to Mr. Jordan
               Beyond Those Allowed Under the MVSFA.

      The finance charge imposed on Mr. Jordan by Defendant, which amounts to

an APR of 80.1286%, far exceeds the statutory cap for car sales.

      “The add-on interest rate authorized by the Motor Vehicle Sales Finance Act

is the ceiling on the interest which may be charged for financing an automobile.”

6
 The MVSFA covers all dealer-financed purchases of new and used automobiles.
See O.C.G.A. §§ 10-1-31(a)(4), (9)-(11).
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In re McMichen, 23 B.R. 497, 498 (Bankr. N.D. Ga. 1982). The limit for a used

motor vehicle of “a year model more than four years prior to the year in which the

sale is made [is] $17.00 per $100.00 per year.” O.C.G.A. § 10-1-33(a). This

finance charge is computed based upon the “unpaid balance,” which for our

purposes is the same as the TILA amount financed defined above.7

      The Unidentified Fee in this case must be excluded from the “unpaid

balance.” First, the MVSFA incorporates TILA’s definitions. O.C.G.A. § 10-1-

33(b). Thus, for the same reasons the Unidentified Fee cannot be part of the

amount financed under TILA, it cannot be part of the “unpaid balance” under the

MVSFA.     Second, it is well-established that any unidentified fees are to be

excluded from the “unpaid balance” for MVSFA purposes. See Ford Motor Credit

Co. v. Spann, 153 Ga. App. 535, 537 (1980) (an unidentified fee of $25 not

sufficiently itemized to be included in the “unpaid balance”). Thus, the “unpaid

balance” in Mr. Jordan’s transaction is $4,921.93.




7
 The MVSFA uses the term “unpaid balance” as defined in the original
promulgation of Regulation Z. O.C.G.A. § 10-1-33(b). The only difference
between this term “unpaid balance” and the amount financed is the deduction of
certain prepaid finance and deposit charges that are not applicable here. See 34
Fed. Reg. 2002, 2008 (Feb. 11, 1969) (to be codified at 12 C.F.R. § 226.8(c)(5)-
(7)). Thus, for our purposes, the term “unpaid balance” is the same as the TILA
amount financed described above.
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      Given the “unpaid balance,” the maximum finance charge permitted under

this contract is $2,148.72.8 This ceiling can easily be calculated by tracking the

statutory language: “$17.00 per $100.00 per year.”        One can thus take the

following steps to calculate the maximum finance charge for Mr. Jordan:

      (1) “$17.00 per $100.00” is the same as 17%.

      (2) The “unpaid balance” is $4,921.93, the actual “amount financed.”

      (3) 17% of the “unpaid balance” is $836.73, the amount of interest that

Defendant may charge per year on this transaction (i.e., 17% per year).

      (4) The transaction was consummated on November 11, 2012, with a final

payment due on June 7, 2015. Thus, the length of the transaction is 2.568 years.

      (5) The finance charge ceiling on the life of this contract is $2,148.72

($836.73 per year x 2.568 years). (SMF ¶ 10.)

      As described above, Defendant imposed a finance charge of $6,700.62 on

Mr. Jordan’s transaction. This charge is not a minor or technical deviation from

the MVSFA; it is more than triple the amount allowed under Georgia law.



8
  One cannot simply use the APR to determine whether a seller has violated the
MVSFA interest rate cap because the APR is calculated differently than the add-on
interest referenced in the MVSFA. See Sidney L. Moore, Jr., The Computation of
Finance Charges in Georgia Consumer Credit Contracts, 30 Mercer L. Rev. 281,
285-288 (1978) (describing different interest rate calculations in consumer credit
contracts).
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      The undisputed facts show this violation was willful. In 2012 and 2013,

Defendant charged this Unidentified Fee to over 146 credit customers as a

condition of the extension of credit, but not to any cash customers. (SMF ¶¶15, 31,

33, 42.) It refused to waive that fee for any borrowers. (SMF ¶31.) When drafting

the financing documents, the salesperson manually enters this fee into the

computer each time, but does not type an explanation or identify its purpose,

despite its substantial nature. (SMF ¶ 33.) After consummating the transaction,

Mr. Jordan was told that it was a finance charge. (SMF ¶ 19.) Finally, the

Unidentified Fee is a source of profits for Defendant from its credit customers.

(GA Deposition, p. 47:1-2.) The imposition of the Unidentified Fee is no mistake

or accident on the part of the dealer. It is an additional charge imposed on its

customers that is willful.

      The effect of this interest rate violation is two-fold. First, Defendant is

barred from recovering any finance charge, delinquency, or collection charge on

the contract. O.C.G.A. § 10-1-38(b). Second, because the violation was willful,

Mr. Jordan is entitled to statutory damages equal to double the finance charge. See

Stokes v. Fidelity Acceptance Corp., 644 F.2d 355, 356 (Former 5th Cir. 1981);

O.C.G.A. § 10-1-38(c).       Thus, Mr. Jordan seeks a declaratory judgment that

Defendant cannot recover any finance charges, delinquency, or collection charges


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from Mr. Jordan, as well as statutory damages of $13,401.24 (the finance charge of

$6,700.12, multiplied by two).

            B. Defendant Refused to Provide Mr. Jordan With the Required
               Post-Repossession Notices.

      The MVSFA also contains requirements in the event of a customer’s default.

“When any motor vehicle has been repossessed after default,” the seller must send

the buyer proper notice of the seller’s intentions and the buyer’s rights, including

his “rights of redemption.” O.C.G.A. § 10-1-36(a).

      It is undisputed that the MVSFA notice was not mailed in this case. (SMF ¶

27.) Guaranteed Auto openly admits, as a matter of course, that it does not send

these notices (ostensibly because it does not seek deficiency balances). (SMF ¶

28.) Instead, Guaranteed Auto chooses not to inform hundreds of consumers,

including Mr. Jordan, of their redemption rights as required under the MVSFA.

      The effect of this notice violation is also two-fold. First, Guaranteed Auto is

barred from any deficiency claim against Mr. Jordan on this contract. O.C.G.A. §

10-1-36(a). Second, even if the interest rate violation above did not entitle Mr.

Jordan to statutory damages, this intentional notice violation does. See O.C.G.A. §

10-1-38(c). Thus, Mr. Jordan seeks a declaratory judgment that Defendant cannot




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seek a deficiency claim against him, as well as the above-calculated statutory

damages of $13,401.24, if MVSFA statutory damages are not otherwise awarded.

   III.   GUARANTEED AUTO’S REFUSAL TO PROVIDE POST-
          REPOSSESION NOTICES ALSO VIOLATES ARTICLE 9 OF THE
          GEORGIA COMMERCIAL CODE.

      Georgia’s codification of Article 9 of the Uniform Commercial Code

requires proper notification to the debtor after secured collateral has been

repossessed.   See O.C.G.A. § 11-6-611. Article 9 notice requirements are

cumulative of those found in the MVSFA. See Bryant Int’l v. Crane, 188 Ga. App.

736, 736-737 (1988). As in the MVSFA, a key purposes of this notice is to give

“the debtor the opportunity to exercise its redemption rights.” See Cessna Finance

Corp. v. Design Eng. & Constr. Int’l, Inc., 176 Ga. App. 206, 208 (1985);

O.C.G.A. § 11-9-614(1)(C) (content requirements of notice); O.C.G.A. § 11-9-623

(right to redeem). A notice lacking any of the required information “is insufficient

as a matter of law.” U.C.C. § 9-614 (Official notes).

      Given the complete absence of notice in this case, Defendant clearly violated

the statute. Mr. Jordan’s car was repossessed on December 26, 2013. He never

received a written notice of his right to redeem the collateral. Guaranteed Auto

concedes that it never sent out such notice. (SMF ¶¶ 27-28.)




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      These notice requirements are so important that Article 9 provides for

significant statutory damages for violations. See O.C.G.A. § 11-9-625(c)(2). This

provision is “designed to ensure that every noncompliance with the requirements

of Part 6 in a consumer-goods transaction results in liability, regardless of any

injury that may have resulted.” U.C.C. § 9-625 (Official notes) (emphasis added).

No actual damages need be proven in order to recover these statutory damages.

See e.g., Atl. Coast Fed. Credit Union v. Delk, 241 Ga. App. 589, 591 (1999).

Furthermore, consumers have recovered these damages even in cases where no

deficiency is sought, Ogletree v. Brokers South, Inc., 192 Ga. App. 53, 56 (1989),

or when a deficiency is not otherwise recoverable, see Davis v. Adel Banking Co.,

175 Ga. App. 828 (1985).

      Mr. Jordan is entitled summary judgment on his claim for statutory damages

in the amount of $7,192.81. Per the statute, this number is calculated based on the

“time price differential” (a.k.a., the “finance charge,” $6,700.62) plus 10% of the

cash price (a.k.a., the “amount financed,” $4,921.93).     See O.C.G.A. § 11-9-

625(c)(2); Ogletree, 192 Ga. App. at 56 (calculating damages).




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    IV.   GUARANTEED AUTO’S DECEPTIVE ACTS AND PRACTICES
          VIOLATE THE GEORGIA FAIR BUSINESS PRACTICES ACT.
      Mr. Jordan is also entitled to summary judgment on his claims under the

Georgia Fair Business Practice Act, O.C.G.A. § 10-1-390 et seq. A claim under

the FBPA has “three elements: a violation of the Act or its rules, causation, and

injury.” Johnson v. GAPVT Motors, 292 Ga. App. 79, 84 (2008); see O.C.G.A. §

10-1-399(a).9 Each element is met herein, and will be addressed in turn.

                   A.     Guaranteed Auto Violated the FBPA.

      The FBPA broadly prohibits “unfair or deceptive acts or practices in the

conduct of consumer transactions.” O.C.G.A. § 10-1-393(a). The single sale of an

automobile to a consumer by a dealer constitutes a consumer transaction. See

Marrale v. Gwinnett Place Ford, 271 Ga. App. 303, 307-308 (2005).            Here,

Guaranteed Auto committed an unfair and/or deceptive act by blatantly

misrepresenting the costs of Mr. Jordan’s credit.

      Deceptive TILA disclosures violate the FBPA. First, a violation of the

Federal Trade Commission (FTC) Act is a violation of the FBPA. See O.C.G.A. §

10-1-391(b); 1st Nationwide Collection Agency v. Werner, 288 Ga. App.454, 459

(2007) (violation of Fair Debt Collection Practices Act results in violation of FTC

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 The FBPA also requires ante-litem notice to the defendant, which was completed
by counsel. See O.C.G.A. § 10-1-399(b); (SMF ¶ 43.)
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Act, and, therefore, a violation of the FBPA)); Nickens v. Equifax Info Servs.,

LLC, No. 13-CV-0333, 2013 U.S. Dist. LEXIS 127441 at *13-14 (N.D. Ga.,

August 5, 2013) (violations of Fair Credit Reporting Act are violations of FTC Act,

and, thus, violations of FBPA). Further, it is well-established that TILA violations

are violations of the FTC Act. In re Beauty Style Modernizers, Inc., 83 F.T.C.

1761 at *28-29 (Sept. 18, 1972); see also In re Charnita, Inc., 80 F.T.C. 892 at *59-

61 (Jan. 11, 1971) (finding violation of FTC act based upon violations of TILA).

      Thus, because Guaranteed Auto’s deceptive TILA disclosures would be FTC

Act violations, they are also FBPA violations. This is especially true here because

Guaranteed Auto’s acts were not mere technical violations of TILA; they were

gross misrepresentations of the cost of credit for a transaction that had a true (and

illegal) APR of over 80%.10 Violations of this kind grievously injure a consumer’s

ability to effectively shop around for good credit terms. This results in consumers

entering into expensive and unaffordable transactions, often culminating in default

– as was the case with many of Guaranteed Auto’s customers. (GA Deposition,
10
   Chancellor v. Gateway Lincoln-Mercury, 233 Ga. App. 38 (1998) does not hold
otherwise. There, the court found that there was no FBPA violation because the
transaction was not a consumer transaction and there was no TILA violation. Id. at
43-44. In dicta, the court suggested that “truth in lending” falls outside of the
FBPA, except where “expressly covered.” Id. First, TILA is expressly covered,
through the FBPA’s incorporation of the FTC Act. Second, this dicta is not
reconcilable with the later-decided 1st Nationwide and other authorities, and
should be ignored.
                                         21
pp. 22:18-25, 23:1.) This practice not only directly harms consumers, but also

erodes confidence in the market and diverts business from legitimate dealerships.

Avoiding this scenario is the purpose of the FBPA.

      However, even in the absence of an express FTC Act violation,

misrepresenting or concealing the cost of credit gives rise to a FBPA violation.

Conseco Fin. Servicing Corp. v Hill, 252 Ga. App. 774, 777 (2001) (failing to

inform buyer of step-interest rate in their loan, and misrepresenting that monthly

payments on mobile-home loan would not rise in the future, could give rise to

FBPA violation). In this matter, Guaranteed Auto misrepresented the true cost of

credit to Mr. Jordan by understating the finance charge for the transaction by

$3,350.00 and the APR by over 50 percentage points. This deceptive act violates

the core of the FBPA.

            B.    Guaranteed Auto’s Actions Caused Mr. Jordan’s Injuries.

      As shown above, Mr. Jordan would not have entered into the transaction if

he had known its true cost. See Section I.D, supra; (SMF ¶¶ 23-24.) He relied to

his detriment upon Guaranteed Auto’s misrepresentations in making his decision to

trade in his car and purchase a vehicle from them. (SMF ¶¶ 22-24) Guaranteed

Auto specifically told Mr. Jordan that the APR for the transaction was 28%, (SMF

¶¶ 17, 18, 22), and all of the documents provided to him reflected the same APR.

                                       22
(Exs. B,C.) Thus, he relied upon both oral and written misrepresentations, with no

reason to doubt either at the time of the transaction. Under these facts, Mr. Jordon

satisfies the causation standard under the FBPA. Crown Ford, Inc. v. Crawford,

221 Ga. App. 881, 884 (1996) (granting summary judgment to purchaser of car

who was defrauded by false odometer reading, when dealership “raised no specific

facts showing [the consumer] did not rely on its representations”).

             C.    Mr. Jordan Suffered Actual Injuries.

      Mr. Jordan was injured as a direct result of Guaranteed Auto’s deceptive and

unfair acts. He made $1,400.00 in payments that he would not have otherwise

made (Jordan Aff. ¶¶ 30, 37), and traded in a paid-off vehicle worth $3,500.00, that

he would not have traded in but for Guaranteed Auto’s actions. (Jordan Aff. ¶¶ 11,

37.) Accordingly, he suffered $4,900.00 in actual damages.

             D.    Because Guaranteed Auto’s Actions Were Intentional, They
                   Trigger the Statutory Trebling of Damages.

      The FBPA mandates an award of statutory treble damages when the

purported conduct was intentional.        O.C.G.A. § 10-1-399(c).        Here, the

circumstances for awarding treble damages are met.

      Under the FBPA, a violation is intentional when it is “a volitional act

constituting an unfair or deceptive act or practice conjoined with culpable


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knowledge of the nature (but not necessarily the illegality) of the act.” Miles Rich

Chrysler v. Mass, 210 Ga. App. 693, 697 (1991) (verdict for plaintiff who was

promised a van that was never delivered).           Thus, if an act is committed

intentionally, and that act is unfair or deceptive, treble damages are mandatory.

      Guaranteed Auto committed a volitional act when it, in keeping with its

business practices, charged Mr. Jordan a $3,350.00 unidentified fee and provided

inaccurate disclosures.     Its salespeople manually entered the fee into the

transaction for all credit purchases. (SMF ¶ 33.) In addition, Guaranteed Auto

knew that at least some portion of the $3,350.00 charge was a finance charge,

because it was additional “profit” from the credit sale. (GA Deposition, p. 47:1.)

There is no credible argument that it did not intend to charge the fee and omit it

from the finance charge. That is all that is necessary to meet the FBPA’s intent

standard.

      Finally, Guaranteed Auto imposed this fee time and time again. Attached to

this Motion and Brief are close to 150 used car transactions provided by

Guaranteed Auto, all of which include an unidentified $3,350.00 fee. Guaranteed

Auto stipulated that (1) each financed transaction entered into in 2012 and 2013

included this fee, (2) that this fee was never included in the finance charge, but

always included in the amount financed, and (3) that the APR was always


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calculated upon this basis.    (SMF ¶¶ 38-40.)     Guaranteed Auto thus charged

$489,100.00 in unidentified, undisclosed finance charges for these 146 transactions

alone (146 multiplied by 3,350 = 489,100). Guaranteed Auto estimated that it

charged the fee to an estimated 625 customers in 2012 and 2013. (GA Deposition

p. 41:1-8.) It thus charged (and profited from) $2,093,750.00 in illegal finance

charges over a two-year period (625 transactions multiplied by 3,350.00).

Guaranteed Auto’s motive and intent in charging its customers the $3,350.00 fee

and concealing it from the finance charge is plain – to fraudulently extract

additional profit from its customers.

                                  CONCLUSION

      The undisputed evidence shows that Mr. Jordan is entitled to partial

summary judgment on his claims, and he requests that it be granted in his favor.11


      This 25th day of August, 2014.

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  Mr. Jordan respectfully requests that his claims for punitive damages be
reserved, pending a ruling on the merits.
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                      CERTIFICATE OF COMPLIANCE

      The undersigned counsel certifies that the foregoing has been prepared in

Times New Roman (14 point) font, as approved by the Court in L.R. 5.1.B.


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